39 F.3d 1176
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.In Re:  Ronald GRAHAM, Petitioner.
    No. 94-8068.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 18, 1994.Decided Nov. 15, 1994.
    
      On Petition for Writ of Mandamus.  (CA-94-491).
      Ronald Graham, Petitioner Pro Se.
      PETITION DENIED.
      Before HALL and MICHAEL, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Ronald Graham filed a petition for a writ of mandamus asking this Court to direct officials of the Virginia Department of Corrections not to transfer Graham to another state.  Mandamus relief is not available to compel or direct the actions of state courts.   Davis v. Lansing, 851 F.2d 72, 74 (2d Cir.1988);   Gurley v. Superior Court of Mecklenburg County, 411 F.2d 586, 587 (4th Cir.1969).  Therefore, although we grant the motion for leave to proceed in forma pauperis, we deny the petition for a writ of mandamus.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not significantly aid the decisional process.
    
    
      2
      PETITION DENIED.
    
    